           Case 2:08-cr-00082-RSL     Document 200      Filed 05/15/08      Page 1 of 1



 1                                                                                JUDGE LASNIK

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9
      UNITED STATES OF AMERICA,                          CASE NO. CR 08-82 RSL
10
                                          Plaintiff,
11    v.
                                                         ORDER ON DEFENDANT OFFORD’S
12    SHAWN PIPER, et al.                                MOTION FOR DISCOVERY (REVISED)
13                                    Defendants.
14

15
             Based on Defendant OFFORD’S motion for discovery and the court being fully
16
     advised, if the government intends to use the subject videotape at trial it shall provide
17
     access to defense counsel for his viewing with the defendant on or before May 29, 2008.
18
             Defense counsel shall maintain possession of the subject videotape and defendant
19
     shall not be provided with a copy.
20
             IT IS SO ORDERED.
21
             DONE this 15th day of May, 2008.
22


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24                               Robert S. Lasnik
25                               United States District Judge

26
                                                                                  LAW OFFICES OF
                                                                                KENNETH E. KANEV
     ORDER ON DEFENDANT OFFORD’S MOTION                                     1001 4TH AVENUE, SUITE 2120
     FOR DISCOVERY -1                                                    SEATTLE, WASHINGTON 98154-1109
                                                                          206-223-1355(V) 206-583-2278(F)
